Case 08-14631-GMB          Doc 425-1 Filed 06/27/08 Entered 06/27/08 14:32:27           Desc
                               Proposed Order Page 1 of 2



UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY

MARK E. FELGER (MF9985)
JERROLD N. POSLUSNY, JR. (JP7140)
COZEN O’CONNOR
LibertyView, Suite 300
457 Haddonfield Road
Cherry Hill, NJ 08002
(856) 910-5000
Attorneys for the Debtors

In re:                                                 Case No. 08-14631(GMB)

SHAPES/ARCH HOLDINGS L.L.C., et al.,                   Judge: Gloria M. Burns

                Debtors.                               Chapter: 11


   ORDER RECLASSIFYING THE TEAMSTERS LOCAL 837 PENSION PROOF OF
      CLAIM FROM ADMINISTRATIVE TO GENERAL UNSECURED AND
          DISALLOWING AND EXPUNGING DUPLICATIVE CLAIM
         The relief set forth on the following page, numbered two (2), is hereby ORDERED.
Case 08-14631-GMB             Doc 425-1 Filed 06/27/08 Entered 06/27/08 14:32:27                        Desc
                                  Proposed Order Page 2 of 2

Page 2

Shapes/Arch Holdings L.L.C., et al.

Case No. 08-14631 (GMB)

Order Reclassifying the Teamsters Local 837 Pension Proof of Claim from Administrative to General Unsecured
and Disallowing and Expunging Duplicative Claim



         Upon consideration of the above-captioned debtors’ (the “Debtors”) objection to the

administrative claims of Teamsters Local 837 Pension Fund seeking reclassification as general

unsecured claim and expungement of duplicative claim (the “Objection”),1 any responses or

objections thereto, notice of the Motion appearing appropriate, and for cause shown, it is hereby

ORDERED:

         1.      That the Objection is SUSTAINED.

         2.      That the Local 837 Pension Plan’s proof of claim identified as claim no. 774 on

the claims register is reclassified as a general unsecured claim.

         3.      That the Local 837 Pension Plan’s duplicative proof of claim identified as claim

no. 778 on the claims register is hereby disallowed and expunged from the claims register.




CHERRY_HILL\449052\1 220718.000




1
  Unless otherwise defined herein, capitalized terms shall have the same meaning ascribed to
them in the Objection.

                                                  2
